  Case 4:22-cv-00343-Y Document 207 Filed 02/19/24                 Page 1 of 3 PageID 4870



                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION

      ROBERT (BOB) ROSS,                          §
      Plaintiff/Counterclaim Defendant,           §
                                                  §
 v.                                               §
                                                  §   Civil Action No. 4:22-cv-343-Y
      ASSOCIATION OF PROFESSIONAL                 §   Consolidated with 4:22-CV-430-Y
      FLIGHT ATTENDANTS, et al.,                  §
      Defendants/Counterclaim Plaintiffs,         §   Judge Terry R. Means
                                                  §
 AND                                              §
                                                  §
 EUGENIO VARGAS,                                  §
   Plaintiff/Counterclaim Defendant,              §
                                                  §
 v.                                               §
                                                  §
      ASSOCIATION OF PROFESSIONAL                 §
      FLIGHT ATTENDANTS, et al.,                  §
      Defendants/Counterclaim Plaintiffs.         §


                                NOTICE OF MANUAL FILING

         This is notice under Local Rule 5.1 that the APFA Defendants’ are manually filing a video

recording of Plaintiff Eugenio Vargas’s February 2, 2024 deposition with the Clerk of Court. The

APFA Defendants are submitting the recording via U.S. Priority mail today. The APFA Defendants

have not filed the deposition video because the recording is larger than 35MB and cannot be

converted to an electronic format able to be filed via the Court’s ECF filing system. The recording

is in mp3, mp4, and mpg formats. Additionally, the APFA Defendants are serving copies of this

flash drive on Plaintiffs through their attorney of record.
 Case 4:22-cv-00343-Y Document 207 Filed 02/19/24     Page 2 of 3 PageID 4871



Dated: February 19 , 2024         Respectfully Submitted,


                                    /s/ James D. Sanford
                                  JAMES D. SANFORD
                                  Tex. Bar No. 24051289
                                  JOSEPH H. GILLESPIE
                                  Tex. Bar No. 24036636
                                  Gillespie Sanford LLP
                                  4803 Gaston Ave.
                                  Dallas, TX 75246
                                  Tel.: (214) 800-5111; Fax.: (214) 838-0001
                                  Email: jim@gillespiesanford.com
                                  Email: joe@gillespiesanford.com

                                  JEFFREY A. BARTOS (pro hac vice)
                                  D.C. Bar No. 435832
                                  Guerrieri, Bartos & Roma, PC
                                  1900 M Street, N.W. Suite 700
                                  Washington, DC 20036
                                  Tel.: (202) 624-7400; Fax: (202) 624-7420
                                  Email: jbartos@geclaw.com

                                  Counsel for Defendant and Counterclaim Plaintiff
                                  Association of Professional Flight Attendants, and
                                  Defendants Julie Hedrick and Erik Harris

                                  CHARLETTE L. BRODERICK (pro hac
                                  vice)
                                  Tex. Bar No. 24133870
                                  Association of Professional Flight Attendants
                                  1004 W. Euless Blvd.
                                  Euless, TX 76040
                                  Tel.: (682) 301-8454
                                  Email: Cmatts@apfa.org

                                  Counsel for Defendant and Counterclaim Plaintiff
                                  Association of Professional Flight Attendants




                                     2
  Case 4:22-cv-00343-Y Document 207 Filed 02/19/24                   Page 3 of 3 PageID 4872




                                 CERTIFICATE OF SERVICE

       I certify that on February 19 , 2024, I electronically submitted this document to the clerk

of the court for the U.S. District for the Northern District of Texas using the court’s electronic

case filing system. The electronic case filing system sent a “Notice of Electronic Filing” to the

following individuals, who have consented to accept this Notices as service of this document by

electronic means:

KERRI PHILLIPS
K.D. Phillips Law Firm, PLLC
6010 W. Spring Creek Parkway
Plano, TX 75024
Phone: (972) 327-5800
Fax: (940) 400-0089
Email: kerri@KDphillipslaw.com
       notice@KDphillipslaw.com

MICHAEL R RAKE
Michael R. Rake, Attorney at Law
PO Box 1556
Lake Dallas, TX 75065
Tel.: (940) 498-2103
Fax: (940) 498-2103
Email: mrake1@mrakeattorney.com

                                                              /s/ James D. Sanford
                                                              JAMES D. SANFORD




                                                  3
